Case 1:16-cv-24900-DPG Document 17 Entered on FLSD Docket 05/31/2017 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION

  MAX ELIMELECH,

                 Plaintiff,                                  Case No. 1:16-CV-24900-DPG
  vs.

  EXPERIAN INFORMATION SOLUTIONS,
  INC. and COLLECTION BUREAU OF
  AMERICA, LTD., INC.,

                 Defendants.
                                                      /

                JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         All matters and things in dispute having been adjusted and settled between the Plaintiff

  and Defendants, EXPERIAN INFORMATION SOLUTIONS, INC. and COLLECTION

  BUREAU OF AMERICA, LTD., INC., it is

         STIPULATED AND AGREED by the parties hereto that all claims between Plaintiff,

  MAX ELIMELECH, and Defendants, EXPERIAN INFORMATION SOLUTIONS, INC. and

  COLLECTION BUREAU OF AMERICA, LTD., INC., asserted in this litigation, including

  claims for attorney’s fees and costs, be dismissed with prejudice as to all Defendants.


  s/Justin Zeig                                      s/ Barbara Fernandez
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Case 1:16-cv-24900-DPG Document 17 Entered on FLSD Docket 05/31/2017 Page 2 of 3

                                                     Case No. 1:16-CV-24900-DPG


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                                       2
                                                                  15387368v1 0993989
Case 1:16-cv-24900-DPG Document 17 Entered on FLSD Docket 05/31/2017 Page 3 of 3

                                                                   Case No. 1:16-CV-24900-DPG


                                 CERTIFICATE OF SERVICE

         I hereby certify that on May 31, 2017, I electronically filed the foregoing with the Clerk

  of the Court by using the CM/ECF system which will send a notice of electronic filing to the

  following:

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